






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00113-CV






Williamson County Appraisal District, Appellant


v.


Electric Reliability Council of Texas, Inc., Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT

NO. 04-830-C277, HONORABLE KEN ANDERSON, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

		The parties have requested that this Court abate this appeal so that they might
implement a settlement agreement.

		We grant the motion and abate the appeal.  Absent further order of this Court, this
appeal will be automatically reinstated on September 1, 2009.  The parties are directed to file either
a status report or a motion to dismiss by that date.

		

						_____________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Waldrop and Henson

Abated

Filed:   August 7, 2009


